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                                        EXHIBIT 21
      REBECCA GARCIA                                            January 22, 2021
      FORTH vs LARAMIE COUNTY                                                  1

·1· · · · · · ·DISTRICT COURT FOR THE UNITED STATES

·2· · · · · · · · · FOR THE DISTRICT OF WYOMING

·3

·4· ·GRACIE ANN FORTH,

·5
· ·   · · · · · Plaintiff,
·6
· ·   · · · vs.· · · · · · · · · · CIVIL NO. 20-CV-00053-ABJ
·7
· ·   ·LARAMIE COUNTY SCHOOL DISTRICT No. 1 and John/Jane Does
·8·   ·in his/her official capacity,

·9
· · · · · · · Defendants.
10
· · ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
11

12· · · · · · · · ·VIDEOCONFERENCE DEPOSITION OF

13· · · · · · · · · · · · · BECKY GARCIA

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· · · · · · · · · · · · · January 22, 2021
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· · · · · · · · · · ·Proceedings taken remotely
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25· · · · · · · · ·Lisa Erickson, Court Reporter


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  77

·1· · · · A.· ·I -- I understood that the school district
·2· ·reached out after Joe pled guilty, which had been a
·3· ·rather substantial amount of time.
·4· · · · Q.· ·(By Mr. Coppede)· Did you attend any
·5· ·parent-student conferences -- I'm sorry.· Did you ever
·6· ·attend any teacher-parent conferences for Gracie?
·7· · · · A.· ·I believe so.
·8· · · · Q.· ·Do you have a recollection of doing that?
·9· · · · A.· ·I have a recollection of being in a gym with
10· ·a lot of teachers.
11· · · · Q.· ·How often did you attend those meetings or
12· ·conferences?
13· · · · A.· ·I only personally remember one.
14· · · · Q.· ·What can you tell us about that?
15· · · · A.· ·No one ever had anything but positive things
16· ·to report about her to me.
17· · · · Q.· ·Tina Hunter, do you know her?
18· · · · A.· ·Yes.
19· · · · Q.· ·She gave a deposition in this case.· Did you
20· ·know that?
21· · · · A.· ·I suspected.
22· · · · Q.· ·Why did you suspect that?
23· · · · A.· ·She was the supervisor, and according to what
24· ·I had been told, she had a strong suspicion that this
25· ·was a sexual issue.


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  78

·1· · · · Q.· ·Who told you that?
·2· · · · A.· ·She did.· You know, not in so many words, but
·3· ·she came up to me and said that.
·4· · · · Q.· ·What words did she use?
·5· · · · A.· ·At the time, I hadn't eaten or slept in three
·6· ·days.· I don't remember the words.
·7· · · · Q.· ·I think you met her at Cahill Park?
·8· · · · A.· ·It was a park.
·9· · · · Q.· ·That was in early July, I think is what she
10· ·said, of 2017.· Do you recall that?
11· · · · A.· ·I thought it was early June, but I don't
12· ·remember.
13· · · · Q.· ·How was it you were at the park that day?
14· · · · A.· ·I have a nephew.
15· · · · Q.· ·Uh-huh.
16· · · · A.· ·He's seven.
17· · · · Q.· ·Uh-huh.· Who were you with?
18· · · · A.· ·My sister, my dad, and my nephew.
19· · · · Q.· ·Was your mom there?
20· · · · A.· ·Probably.
21· · · · Q.· ·Do you know for sure one way or the other?
22· · · · A.· ·No, I don't.
23· · · · Q.· ·Your nephew was seven at the time?
24· · · · A.· ·I believe he's seven now.· He was young, very
25· ·young at the time.


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  79

·1· · · · Q.· ·He was just about a toddler, right?
·2· · · · A.· ·Yeah he was young.
·3· · · · Q.· ·He would have been about three years old,
·4· ·maybe?
·5· · · · A.· ·I can't remember.· But he was a little guy.
·6· · · · Q.· ·And what is the name of your sister?
·7· · · · A.· ·Christy.
·8· · · · Q.· ·Christy, did you say?
·9· · · · A.· ·Yes.
10· · · · Q.· ·And so you didn't know Tina prior to meeting
11· ·her that day, did you?
12· · · · A.· ·No.
13· · · · Q.· ·And how did you come to have a discussion
14· ·with her?
15· · · · A.· ·She is married to my dad's childhood friend.
16· ·So my dad saw his childhood friend.· The friend
17· ·introduced my dad to Tina Hunter, who was his wife, and
18· ·then all of -- a huge conversation took place.
19· · · · Q.· ·Did you tell her that you had a daughter that
20· ·attended South High School?
21· · · · A.· ·The bulk of the conversation was between her
22· ·and my dad.
23· · · · Q.· ·So your dad -- or Mrs. Hunter's husband
24· ·introduced Tina to your father?
25· · · · A.· ·That is what I remember.


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  80

·1· · · · Q.· ·And then your father Vince, do you recall him
·2· ·telling Tina or stating that he had an adopted
·3· ·granddaughter who lived in Cheyenne?
·4· · · · A.· ·I don't know what the substance of their
·5· ·initial conversation was.
·6· · · · Q.· ·Okay.· How did the subject of Gracie come up?
·7· · · · A.· ·I don't know the substance of the original
·8· ·conversation.
·9· · · · Q.· ·I'm sorry?
10· · · · A.· ·I was not there for that.· I don't know.
11· · · · Q.· ·Okay.· Do you recall Tina Hunter saying
12· ·anything about Joe Meza?
13· · · · A.· ·I remember her being very supportive and
14· ·communicating that she had strong concerns at -- while
15· ·she had served as his supervisor.· She was kind to me.
16· ·She was supportive.· But that's all I remember.
17· · · · Q.· ·Do you remember what her exact words were?
18· · · · A.· ·No.
19· · · · Q.· ·Did you say to Tina that Gracie had reported
20· ·Joe Meza to the police?· Do you recall doing anything
21· ·like that?
22· · · · A.· ·I do not recall doing that.· By the time I
23· ·was involved in the conversation, it was a present idea
24· ·and conversation.
25· · · · Q.· ·Do you remember who told her that?


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  81

·1· · · · A.· ·I was not there for the beginning of the
·2· ·conversation.
·3· · · · Q.· ·Did you ask Tina for her telephone number?
·4· · · · A.· ·I don't know if she asked -- if I asked or if
·5· ·she gave it, but I do know that I still have it.
·6· · · · Q.· ·Did you give that telephone number to the
·7· ·police?
·8· · · · A.· ·Probably.
·9· · · · Q.· ·Did you ask the police to contract
10· ·Tina Hunter?
11· · · · A.· ·I didn't ask the police to do anything but
12· ·their job.· I -- you know, they were the experts.
13· · · · Q.· ·One more time.· Did you ask the police to
14· ·contact Tina Hunter?
15· · · · A.· ·Not specifically, that I recall.
16· · · · Q.· ·What do you recall?
17· · · · A.· ·I recall being absolutely shocked and
18· ·traumatized and doing everything I could to survive.
19· · · · Q.· ·In terms of speaking to the police officers?
20· · · · A.· ·I told the police officer everything that I
21· ·knew.· I -- I spoke with him probably daily for a year,
22· ·so anything that I became aware of that entire time, I
23· ·would have shared.
24· · · · Q.· ·You shared Tina's telephone number with them
25· ·though?


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  82

·1· · · · A.· ·I don't know for sure, but I absolutely would
·2· ·have done that.
·3· · · · Q.· ·Did you tell Tina Hunter that you wanted law
·4· ·enforcement to contact her?
·5· · · · A.· ·I don't remember.
·6· · · · Q.· ·Did Tina Hunter tell you anything that she
·7· ·had observed about Joe Meza and Gracie?
·8· · · · A.· ·I remember her stating she had had concerns.
·9· ·I -- I do not remember details.
10· · · · Q.· ·So all you remember is she said she had
11· ·concerns?
12· · · · A.· ·All I remember.
13· · · · Q.· ·Did she tell you what she had concerns about?
14· · · · A.· ·Not enough to get specific about it.· I don't
15· ·-- I don't remember.
16· · · · Q.· ·Did she tell you she had concerns about
17· ·anything between Joe Meza and Gracie Forth?
18· · · · A.· ·As I understood the conversation, she had had
19· ·concerns about Joe and Gracie.
20· · · · Q.· ·What did she say?
21· · · · A.· ·I don't remember.
22· · · · Q.· ·Did she tell you what those concerns were?
23· · · · A.· ·No, not that I remember.
24· · · · Q.· ·Did she tell you that she'd ever seen them
25· ·again?


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  83

·1· · · · A.· ·Not that I remember.
·2· · · · Q.· ·Did she tell you that she had seen anything
·3· ·untoward going on between them?
·4· · · · A.· ·Not that I remember.
·5· · · · Q.· ·Did she tell you she'd ever seen them
·6· ·together?
·7· · · · A.· ·I don't remember the conversation being that
·8· ·specific.
·9· · · · · · ·MR. COPPEDE:· Madame Court Reporter, could
10· ·you please read back the last question.
11· · · · · · ·(Whereupon, the question was read back.)
12· · · · Q.· ·(By Mr. Coppede)· So the answer was she
13· ·didn't tell you if she'd ever seen them again, correct?
14· · · · · · ·MS. OLSON:· Object to form.· Go ahead and
15· ·answer.
16· · · · A.· ·I do not remember.
17· · · · Q.· ·(By Mr. Coppede)· Did she ever tell you that
18· ·she had heard that they had been spending time
19· ·together?
20· · · · A.· ·I do not remember.
21· · · · Q.· ·Did she ever tell you what her concerns were?
22· · · · A.· ·I don't remember that, no.
23· · · · Q.· ·Do you know whether anybody from the police
24· ·contacted Tina Hunter?
25· · · · A.· ·I do not know.


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  84

·1· · · · Q.· ·Have you spoken to Tina Hunter since the day
·2· ·you met her at Cahill Park?
·3· · · · A.· ·Not that I can recall.
·4· · · · Q.· ·Have you spoken to any of Gracie's teachers
·5· ·about Joe Meza?
·6· · · · A.· ·No.
·7· · · · Q.· ·About Gracie --
·8· · · · · · ·Let me ask it this way:· After it was
·9· ·reported to the police, did you speak to any of
10· ·Gracie's teachers?
11· · · · A.· ·Not that I recall, no.
12· · · · Q.· ·Did Gracie ever tell you she was feeling
13· ·unsafe at school?
14· · · · · · ·MS. OLSON:· Object to the form.· It's a
15· ·little vague as to the time period.· Go ahead and
16· ·answer if you can, Becky.
17· · · · A.· ·She wasn't comfortable going back to school
18· ·after she went to the police.
19· · · · Q.· ·(By Mr. Coppede)· Did she ever tell you she
20· ·felt unsafe going back to school after that?
21· · · · A.· ·I do not remember her saying that
22· ·specifically.
23· · · · Q.· ·Did she tell you why she felt uncomfortable?
24· · · · A.· ·Yes.
25· · · · Q.· ·What did she say?


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   REBECCA GARCIA                                             January 22, 2021
   FORTH vs LARAMIE COUNTY                                                  85

·1· · · · A.· ·The conversations that we had between us were
·2· ·that Joe was an elevated personality in the school
·3· ·district, and we were not sure who to trust.
·4· · · · Q.· ·Do any names come to mind?
·5· · · · A.· ·Can you clarify that question?
·6· · · · Q.· ·You said you weren't sure who you could
·7· ·trust.
·8· · · · A.· ·Honestly, we didn't know if we could trust
·9· ·anyone.
10· · · · Q.· ·Okay.· Have you seen Joe Meza at any time
11· ·since May 26, 2017?
12· · · · A.· ·Only from a distance.
13· · · · Q.· ·On how many occasions?
14· · · · A.· ·We saw him that morning that we withdrew
15· ·Gracie from school.· I -- it was -- it would have been
16· ·multiple car lengths away.
17· · · · Q.· ·You were driving to the school?
18· · · · A.· ·Yes.
19· · · · Q.· ·And you saw him driving?
20· · · · A.· ·He -- he was driving to Johnson the same time
21· ·we were driving to South to get her out of school.
22· · · · Q.· ·Did he see you?
23· · · · A.· ·I'm pretty sure, yes.
24· · · · Q.· ·Why were you pretty sure?
25· · · · A.· ·He smirked.


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                                             EXHIBIT 22
      VINCE GARCIA                                               January 25, 2021
      FORTH vs LARAMIE COUNTY                                                   1

·1· · · · · · ·DISTRICT COURT FOR THE UNITED STATES

·2· · · · · · · · · FOR THE DISTRICT OF WYOMING

·3

·4· ·GRACIE ANN FORTH,

·5
· ·   · · · · · Plaintiff,
·6
· ·   · · · vs.· · · · · · · · · · CIVIL NO. 20-CV-00053-ABJ
·7
· ·   ·LARAMIE COUNTY SCHOOL DISTRICT No. 1 and John/Jane Does
·8·   ·in his/her official capacity,

·9
· · · · · · · Defendants.
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· · ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
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12· · · · · · · · ·VIDEOCONFERENCE DEPOSITION OF

13· · · · · · · · · · · · · VINCE GARCIA

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25· · · · · · · · ·Lisa Erickson, Court Reporter


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   VINCE GARCIA                                               January 25, 2021
   FORTH vs LARAMIE COUNTY                                                   8

·1· · · · A.· ·'87.
·2· · · · Q.· ·What is your current employment?
·3· · · · A.· ·I work for the Wyoming Department of
·4· ·Transportation.
·5· · · · Q.· ·What do you do for them?
·6· · · · A.· ·I lead a program called the Geographic
·7· ·Information Systems and Intelligent Transportation
·8· ·Systems.· I'm a civil engineer, structural by training.
·9· · · · Q.· ·I think all of the attorneys in this case
10· ·from time to time have been in litigation involving
11· ·accidents, oftentimes trucking accidents on the
12· ·highway, and we have some involvement from WYDOT from
13· ·time to time.· But I don't think I've had it with the
14· ·portion you work with.
15· · · · A.· ·Actually, probably, you have.
16· · · · Q.· ·I have?
17· · · · A.· ·My group provides lots of information about
18· ·the crashes.· My group is responsible for all of the
19· ·roadside technology, so if there is someone asking
20· ·questions about what was on a camera or what was on an
21· ·electronic message sign or what type of information was
22· ·WYDOT providing, that's my group that does that.
23· · · · Q.· ·Oh, well, then, certainly, I think I have.
24· · · · A.· ·I'm sure you have.
25· · · · Q.· ·I want to ask you now, Mr. Garcia, what you


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   VINCE GARCIA                                               January 25, 2021
   FORTH vs LARAMIE COUNTY                                                  34

·1· ·three to four months.
·2· · · · Q.· ·Did you ever talk to Joe Meza from the moment
·3· ·you learned about this incident?
·4· · · · A.· ·No.
·5· · · · Q.· ·To this day, have you ever talked to him?
·6· · · · A.· ·No.· His cousin worked for me, and that was a
·7· ·difficult situation, but we got through it.· She's a
·8· ·great kid.
·9· · · · Q.· ·Does she still work for you?
10· · · · A.· ·No.· She got a promotion to work in another
11· ·group.· Her name is Brianne Lopez.· She just recently
12· ·got married, so that name has changed, but she's a
13· ·great kid.
14· · · · Q.· ·I want to talk to you now about a meeting
15· ·that occurred between you and Tina Hunter and her
16· ·husband in Cahill Park in July 2017.· Do you recall
17· ·that situation?
18· · · · A.· ·I do.
19· · · · · · ·MS. MCCORKLE:· Object to form and foundation.
20· ·He just hasn't testified about the timing of the
21· ·meeting in the park.
22· · · · Q.· ·(By Mr. Smith)· Mr. Garcia, were you
23· ·acquainted with Tina Hunter's husband?
24· · · · A.· ·Yes.· He and I were grade school, junior high
25· ·school, and high school friends.· He was a year


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   VINCE GARCIA                                               January 25, 2021
   FORTH vs LARAMIE COUNTY                                                  35

·1· ·younger, as I recall.· I think he was more of a friend
·2· ·of my sister's, but his family lived in our
·3· ·neighborhood, so we played baseball with him and did a
·4· ·lot of stuff with him.· He was a good guy.· Joe Hunter
·5· ·is his name.
·6· · · · Q.· ·What grade school did you and Joe go to?
·7· · · · A.· ·McKinley.· Actually, now that I think of it,
·8· ·he might have actually gone to Westwood, which was --
·9· ·but he lived in our neighborhood, so I played with him,
10· ·like -- he was -- I lived on the dividing line, and he
11· ·lived to the west of that.· So he must have gone to
12· ·Westwood, but, like I said, we -- in summer and
13· ·baseball and so forth, it was like we were classmates.
14· ·A good athlete.
15· · · · Q.· ·Well, you're bringing back memories.· I went
16· ·to McKinley and then Westwood Elementary.
17· · · · A.· ·You're kidding me.
18· · · · Q.· ·I lived on Pine Street.· I grew up over
19· ·there.
20· · · · A.· ·Oh, yeah.· That was a little bit west.               I
21· ·lived on Birch.
22· · · · Q.· ·Oh, yeah.· I lived on Birch too when I was
23· ·very young.
24· · · · A.· ·Birch was a dividing line.· I lived on 13th
25· ·and Birch, 1315.


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   VINCE GARCIA                                               January 25, 2021
   FORTH vs LARAMIE COUNTY                                                  36

·1· · · · Q.· ·I moved from Birch to Pine when I was in
·2· ·second grade, so I was transferred from McKinley to
·3· ·Westwood, so I know that area well.
·4· · · · A.· ·At some point, Westwood -- I want to say the
·5· ·kids from Pine Street and to maybe even a little bit
·6· ·west were shipped to McKinley, so it was quite possible
·7· ·that for some of those years Joe did go to McKinley.                 I
·8· ·knew quite a few people who lived on Pine Street too.
·9· · · · Q.· ·So tell me to your best recollection the
10· ·month and date when this meeting occurred, this running
11· ·into Tina Hunter and her husband occurred, if you
12· ·could.
13· · · · A.· ·I actually thought it was in the June time
14· ·frame.· It was just shortly after finding out, and we
15· ·were at Cahill Park.· I was with my two daughters and
16· ·my grandson.
17· · · · · · ·It was sometime after work one day.· We went
18· ·to take my grandson to play on the great play equipment
19· ·they have at Cahill.· I saw Joe there, and I said hello
20· ·to him, how are you doing, and he introduced me to his
21· ·wife.· That was the first time I had met Tina.
22· · · · Q.· ·Were you aware that Joe Hunter was living in
23· ·Cheyenne?
24· · · · A.· ·Yes, yes.· I'd seen him at the gym.· I think
25· ·he worked for the Department of Environmental Quality,


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   VINCE GARCIA                                                January 25, 2021
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·1· ·if I remember correctly.· We hadn't hung out or
·2· ·anything like that while he was here in Cheyenne and I
·3· ·was in Cheyenne, but when we'd see each other, we'd
·4· ·always say hello and were very cordial.
·5· · · · Q.· ·And did you say you think Joe was working for
·6· ·the Department of Environmental Quality?
·7· · · · A.· ·I think that's right.· I think it's the State
·8· ·of Wyoming -- it's certainly a State of Wyoming agency.
·9· ·It could be the State Engineer's Office, but I thought
10· ·it was EQ.
11· · · · Q.· ·So Joe Hunter and Tina Hunter were there.
12· ·Did they have anybody with them?
13· · · · A.· ·They had a child there.· And I don't know if
14· ·it was their child.· I'd have to assume it was because
15· ·they're young enough to have -- I guess it could have
16· ·been a grandchild too.· I don't recall.· That really
17· ·wasn't my focus of that conversation.
18· · · · Q.· ·What was the gender of the child with them?
19· · · · A.· ·Again, I don't know for sure.· I'm sorry.
20· · · · Q.· ·All right.· Tell me about your conversations
21· ·with Joe and Tina Hunter, and, in doing so, let me know
22· ·if both and Joe and Tina were both part of the
23· ·conversation or if it was just one or the other.
24· · · · A.· ·So when we first started talking, it was
25· ·really Joe and me, and we were just, you know, kind of


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·1· ·talking about silly things.· Nothing -- kind of just
·2· ·small talk.· And then Tina -- I was sitting on one of
·3· ·the benches there and was introduced to Tina, and she
·4· ·just asked a series of questions.· I think she would be
·5· ·great at this line of work that you're doing.· She
·6· ·almost felt -- like, she'd ask one question, and it led
·7· ·well into the next question.
·8· · · · · · ·And she asked me, Do I have kids in the
·9· ·school district, and I'm like, No, my kids are older,
10· ·so they're out of the school district, but, yes, they
11· ·had gone to school.· What school?· They went to Central
12· ·and Hobbs and McCormick.
13· · · · · · ·And she said, Do you have any grandkids?· I'm
14· ·like, Yeah, I have a grand -- I have two grandkids.
15· ·I'm watching one grandkid, and I have another one who
16· ·is in the school district.· She was asking specifically
17· ·about the school district, and I said, Yeah, she goes
18· ·to -- to South or Johnson.· I can't remember which.
19· ·But Johnson and South.
20· · · · · · ·And she said, Really?· That's a little old
21· ·for you.· I said, Well, she's adopted.· And she said,
22· ·She's not Gracie, is she?· I said, Yes, she is.· And
23· ·she said, How are they?· And I think I probably turned
24· ·white, and she looked at me and said, He didn't, and I
25· ·said, He did.


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·1· · · · · · ·And she said, I talked to him over and over
·2· ·again.· I told him about boundaries.· I talked about
·3· ·being professional.· And my daughter -- at some point,
·4· ·I pulled my daughter, Becky, over, and they continued
·5· ·the conversation, and she kind of repeated --
·6· ·everything she had said to me, she repeated to my
·7· ·daughter.
·8· · · · · · ·And my youngest daughter was kind of watching
·9· ·her son, but she was near us too and listening in to
10· ·this conversation, I think.· She didn't participate by
11· ·any means.· But I don't know that Joe was much of that
12· ·conversation.· I certainly don't remember him
13· ·interjecting anything.· At some point, he might have
14· ·actually gone over to check on their child while Tina
15· ·and I and Becky were continuing talking.
16· · · · · · ·But the gist of it was that she had -- she
17· ·had some professional relationship with Joe, and she
18· ·had talked to him about his boundary issues.· I was
19· ·really impressed with Tina that she'd do that.· And
20· ·later, when it came out about trying to improve the
21· ·school district, I thought she could help, so I
22· ·contacted her a couple times about that.
23· · · · Q.· ·So let me go back and follow up on some of
24· ·that information you just provided.· Tina, when you met
25· ·her, asked you initially if you had any children in the


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·1· ·school district; is that right?
·2· · · · A.· ·Yeah.· I think it was just small talk.· Yeah.
·3· ·She was just asking because she wanted to know if she
·4· ·had crossed, you know, paths with any of my kids.                I
·5· ·think that's really what it boiled down to.
·6· · · · Q.· ·Did she let you know that she worked for the
·7· ·school district?
·8· · · · A.· ·She did.
·9· · · · Q.· ·What job did she mention that she had for the
10· ·school district?
11· · · · A.· ·I think she said she was -- this is a bit of
12· ·a press on the recall, but I think she said she was
13· ·principal at an elementary school at that time, but
14· ·that she had worked with Joe previously.
15· · · · · · ·After she asked the series of questions that
16· ·led to, It's not Gracie, is it, and then when I -- I
17· ·don't believe I even answered her question directly,
18· ·but she saw it in my face, and she said, He didn't.
19· · · · · · ·And that's when I knew that they had worked
20· ·together.· And I don't know in what capacity.· It could
21· ·have been an assistant principal or something.· I'm not
22· ·100 percent certain.· But, certainly, she had -- it
23· ·seems to me that she had some sort of -- was in his
24· ·chain of command somewhere.
25· · · · Q.· ·So after you had the conversation about your


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·1· ·own children, that they were adults, and talked about
·2· ·what schools they had attended in Cheyenne, then you
·3· ·mentioned that you had, I guess, two granddaughters
·4· ·going to school?
·5· · · · A.· ·A grandson and a granddaughter at the time.
·6· ·And he was not going to school.· He was on the
·7· ·playground at the time.· He was -- oh, gosh -- had to
·8· ·have been three years old.· Something like that.
·9· · · · Q.· ·So you mentioned you had a granddaughter
10· ·attending school in the district?
11· · · · A.· ·Correct.
12· · · · Q.· ·And Tina said something to the effect that
13· ·you seemed to be too young, you and your wife, to have
14· ·a granddaughter in school?
15· · · · A.· ·No.· In -- at Johnson or South High School,
16· ·whichever it was.· I guess it was probably South High
17· ·at that age.
18· · · · Q.· ·And you told her that your granddaughter was
19· ·adopted?
20· · · · A.· ·Correct.
21· · · · Q.· ·And did you tell her --
22· · · · A.· ·And -- I'm sorry.· I talked over you.
23· · · · Q.· ·Did you then tell her your granddaughter's
24· ·name, Gracie Forth?
25· · · · A.· ·No.· She asked.· She said, It's not Gracie,


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·1· ·is it?· And I said yes.
·2· · · · Q.· ·Did she indicate that she was aware that
·3· ·Gracie had been adopted?
·4· · · · A.· ·She must have -- well, she didn't indicate it
·5· ·in any other way other than she -- when I said I had --
·6· ·I think she was 16 or 17 at the time.· When I said she
·7· ·was that age and she was adopted at -- at Johnson --
·8· ·was it Johnson -- or South High School, she said, It's
·9· ·not Gracie, is it?· So I would assume she inferred she
10· ·knew about the adoption, but that wasn't -- she didn't
11· ·directly say, Oh, I knew she was adopted.· She just
12· ·said, It's not Gracie, is it?
13· · · · Q.· ·So when she said, It's not Gracie is it, that
14· ·was her question as to the identity of your
15· ·granddaughter?
16· · · · A.· ·Correct.
17· · · · Q.· ·And then you responded that, yes, it was
18· ·Gracie?
19· · · · A.· ·That's correct.
20· · · · Q.· ·And then Tina asked how Gracie was doing
21· ·with, I guess, Joe and Becky?
22· · · · A.· ·Correct.
23· · · · Q.· ·And was Becky in the conversation at this
24· ·time?
25· · · · A.· ·I don't think she was there yet.· I think she


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·1· ·-- I had called her over later.· But I think the same
·2· ·thing was repeated.· A lot of -- we went over and over
·3· ·several times, probably.· We probably repeated things
·4· ·numerous times with Tina.
·5· · · · Q.· ·So Tina asked how Gracie was doing with Joe
·6· ·and Becky.· What did you tell her?
·7· · · · A.· ·I didn't say anything.· I just -- I think my
·8· ·face must have shown it, because she said, He didn't.
·9· ·And I said, He did.
10· · · · Q.· ·When she said, He didn't, what did you -- how
11· ·did you interpret that?
12· · · · A.· ·I interpreted it to mean he didn't molest
13· ·her.
14· · · · Q.· ·And when she said, He didn't, how did you
15· ·respond?
16· · · · A.· ·I said -- I said, He did.· And then she said,
17· ·I told him over and over again about professional
18· ·boundaries and being professional.
19· · · · Q.· ·When you said, He did, did you provide any
20· ·further information such as that he had been arrested
21· ·and charged?
22· · · · A.· ·Yeah.· I think we talked about that quite a
23· ·bit, and I think that's about when Becky came over and
24· ·we talked about it again.· We talked about she went to
25· ·the police, and he wasn't arrested at that time, I


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·1· ·don't believe.· I guess he was questioned.· He turned
·2· ·himself in later, which is when I would consider him as
·3· ·being arrested.
·4· · · · · · ·But to be direct to your question, I believe
·5· ·we talked about the fact that he had been accused and
·6· ·that the police were involved and that Gracie had gone
·7· ·to the police.
·8· · · · Q.· ·All right.· I take it Tina was not aware that
·9· ·Gracie had gone to the police or that Joe had been
10· ·accused of molesting her?
11· · · · A.· ·She seemed very surprised.· That's why I want
12· ·to say it couldn't have been -- this is when the
13· ·timeline is hard for me because July, they would have
14· ·been out of school, and she would have known about
15· ·that.· Tina would have known about that.· That's why I
16· ·think it was right after May 26th.· Probably the
17· ·following week is what I was thinking, like, the first
18· ·part of June.· But it's foggy, I'm going to be honest.
19· · · · Q.· ·And I'll tell you that I believe that Tina
20· ·has recalled that this meeting at Cahill Park was in
21· ·July, based on her recollection.· It sounds like
22· ·yours --
23· · · · A.· ·It would have been too late.· It would -- it
24· ·was -- it really felt like it was just a few days after
25· ·we found out, and she wasn't in the same school at the


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·1· ·time, but we -- they were certainly in session.· And I
·2· ·don't -- I think.· Is that right?· July seems too late
·3· ·to me.· I want to say the first part of June.
·4· · · · Q.· ·But you have indicated your recall of that is
·5· ·uncertain?
·6· · · · A.· ·It is.
·7· · · · · · ·MS. MCCORKLE:· Object to form.· This has been
·8· ·asked and answered at least three times.· Mr. Garcia
·9· ·has testified over and over that this occurred at the
10· ·beginning of June, shortly after Mr. Meza was reported
11· ·to the police.
12· · · · Q.· ·(By Mr. Smith)· Mr. Garcia, you testified a
13· ·few minutes ago that your memory on this is uncertain,
14· ·correct?
15· · · · A.· ·I don't have an exact date.· I didn't -- I
16· ·certainly didn't write it down.
17· · · · Q.· ·And you said something to the effect that,
18· ·had it occurred in July, that would have been too late.
19· ·What did you mean by that?
20· · · · A.· ·I think she would have found out about it.                 I
21· ·think -- the school district, there's a lot of things
22· ·people talk about, and it wouldn't have been a surprise
23· ·to her.· That's why I think it would have been too late
24· ·for her.· She would have known.· It would not have been
25· ·a surprise.


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·1· · · · Q.· ·But, in fact, you don't really know when she
·2· ·would have known about that, if it was in midsummer?
·3· · · · A.· ·No.· I think the way she reacted, she heard
·4· ·it for the first time from me.
·5· · · · · · ·MR. SMITH:· Mr. Garcia, how are you doing?
·6· ·Do you need a break?
·7· · · · · · ·THE DEPONENT:· I'm okay.
·8· · · · · · ·MR. SMITH:· Lisa, how about you?
·9· · · · · · ·THE REPORTER:· I'm doing okay.· Thank you.
10· · · · · · ·MR. SMITH:· Does anybody else need a break?
11· · · · · · ·MS. MCCORKLE:· I could use a break.
12· · · · · · ·MR. SMITH:· That's fine.· Let's do five.
13· · · · · · ·MS. MCCORKLE:· Thank you.
14· · · · · · ·(Recess from 10:29 a.m. to 10:36 a.m.)
15· · · · Q.· ·(By Mr. Smith)· Mr. Garcia, go ahead.
16· · · · A.· ·I took a look at the calendar, and I believe
17· ·June 30st, 31st, the 1st, or the 2nd.· I don't have the
18· ·exact date, but I don't think there's any way it was
19· ·July.
20· · · · Q.· ·So you looked at the calendar, and you think
21· ·it was which dates?
22· · · · A.· ·So Monday would have been the 29th.
23· · · · Q.· ·Which month are you talking about?
24· · · · A.· ·That's May.· If I looked at it correctly,
25· ·that's the date Becky couldn't go file for divorce, but


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·1· ·she filed for divorce the following day, the 30th, and
·2· ·we were at the park either the 30th, 31st, 1st, or 2nd.
·3· ·After work one of those days.· It was -- a month later
·4· ·would -- no.· I mean, I don't know the exact date, but
·5· ·it was certainly within that week.
·6· · · · Q.· ·Now, Tina Hunter has testified that it was
·7· ·July 2nd, so, obviously, there's a discrepancy between
·8· ·memories there.
·9· · · · · · ·So she also testified that when she had this
10· ·meeting with you, this encounter with you at Cahill
11· ·Park, that she at that time had not been aware that Joe
12· ·and Becky had adopted Gracie Forth.· Do you have any
13· ·reason to dispute that?
14· · · · A.· ·I think when we spoke, she -- I did not tell
15· ·her that Gracie was adopted by Becky or Joe.· I didn't
16· ·even mention Becky or Joe.· I mentioned Gracie.· She
17· ·was asking me about kids I had, and at least
18· ·initially -- is she saying that even after we spoke,
19· ·she didn't know that they had adopted her?
20· · · · Q.· ·She has said that this is where she learned
21· ·it.
22· · · · A.· ·Oh.
23· · · · Q.· ·That day is where she learned that Joe Meza
24· ·and Becky had adopted Gracie.
25· · · · · · ·MS. MCCORKLE:· Object to form.· This


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·1· ·testimony has been gone over several times by
·2· ·Mr. Garcia.
·3· · · · Q.· ·(By Mr. Smith)· You may answer, Mr. Garcia.
·4· · · · A.· ·I would say that there's no way that's
·5· ·possible.· She asked a series of questions.· I wasn't
·6· ·volunteering any information.· She asked -- like, I
·7· ·said, like an interrogator, she was asking a series of
·8· ·questions.· I think she was just trying to find out if
·9· ·she knew anybody that I knew in the school district.
10· · · · · · ·At one point, she said, Do you have any
11· ·grandchildren, or I might have offered that I had a
12· ·grandchild, and she asked, What school?· And I said --
13· ·I guess it would have been South at the time.· She's
14· ·like, Oh, you don't seem old enough.· I said, She's
15· ·adopted, and she said, It's not Gracie, is it?· And I
16· ·said, Yes, it is.
17· · · · · · ·And then she said -- the sequence of events
18· ·was, she said, How are they doing?· And that's when I
19· ·didn't respond, and she said, He didn't, And I said, He
20· ·did.
21· · · · Q.· ·So it's your testimony that she asked, How
22· ·are they doing, and you didn't verbally respond, but by
23· ·the expression on your face, she detected that Joe Meza
24· ·was molesting Gracie?
25· · · · A.· ·I don't know if -- if she assumed he was


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·1· ·molesting her.· I can't speak to that, but she knew
·2· ·something was wrong.
·3· · · · Q.· ·And the reason you believe that to be true is
·4· ·because her response to you was, "He didn't"?
·5· · · · · · ·MS. MCCORKLE:· Object to form.
·6· · · · Q.· ·(By Mr. Smith)· Is that correct, sir?
·7· · · · A.· ·She asked it as a question, He didn't.
·8· · · · Q.· ·And from that, you concluded that she
·9· ·perceived from your expression that something was
10· ·wrong?
11· · · · · · ·MS. MCCORKLE:· Object to form.
12· · · · Q.· ·(By Mr. Smith)· You may answer.
13· · · · A.· ·Certainly that there was a risk.
14· · · · Q.· ·That's your interpretation?
15· · · · A.· ·Yes.
16· · · · Q.· ·And at that point is when you and/or Becky
17· ·filter in on what had transpired?
18· · · · A.· ·I think I probably talked a few more minutes
19· ·before Becky, but I -- I'm not certain.· And there was
20· ·repetition, I assure you.
21· · · · Q.· ·You had that conversation with Tina when she
22· ·asked how was Gracie doing, and then by your
23· ·expression, she answered, He didn't.· Who exactly was
24· ·present for that conversation?
25· · · · A.· ·Certainly, Tina and I.· I can't say if her


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·1· ·husband was there at that moment or not.· I don't think
·2· ·Becky was there at that moment, so it is possible that
·3· ·Joe was there.· I guess it's also possible Becky was
·4· ·there.· I just don't remember it that way.
·5· · · · · · ·I think things were repeated, though, and,
·6· ·certainly, when Becky was there, we went over things
·7· ·over and over again.· Wasted a lot of her time.
·8· · · · Q.· ·Have you been told anything about what
·9· ·Tina Hunter testified to regarding this meeting?
10· · · · A.· ·No.· I guess you've said a couple things, but
11· ·if you mean from anyone else, no.
12· · · · Q.· ·She testified that she had no recall of
13· ·speaking to you about incidents she had with Joe Meza,
14· ·and she testified that she had no recall of telling you
15· ·anything about notes or anything she had made regarding
16· ·Meza's relationship with Gracie Forth.
17· · · · · · ·Essentially, she testified she had no recall
18· ·talking to you -- telling you she had conversations
19· ·with Mr. Meza about his boundaries, but as you have
20· ·told us, you aren't aware she testified to that?
21· · · · A.· ·That's crazy.· There's no way.· Well, she may
22· ·not remember that, but she absolutely did talk to us
23· ·about that, and she talked to me and Becky about that.
24· · · · · · ·MS. MCCORKLE:· Loyd, I have Tina Hunter's
25· ·deposition transcript here.· Would you mind letting us


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·1· ·know when you're citing to her testimony exactly what
·2· ·you're citing to?
·3· · · · · · ·MR. SMITH:· Sure.· I was looking at Page 112
·4· ·of her testimony.
·5· · · · · · ·MS. MCCORKLE:· Thank you.
·6· · · · A.· ·She may not remember it, but I guarantee you
·7· ·there's no reason for me to have any of these
·8· ·recollections if we really didn't have this
·9· ·conversation.
10· · · · · · ·She explained that -- how would I know that
11· ·she was even in his chain of command, frankly, if she
12· ·hasn't told me?· I don't know what exactly the chain of
13· ·command was, but she specifically said she had numerous
14· ·conversations with him.· She didn't tell me what she
15· ·documented, if that's your point.· I assume she
16· ·documented it because you would.· But she said she'd
17· ·had numerous conversations with him.
18· · · · Q.· ·(By Mr. Smith)· And the conversations
19· ·concerned boundaries?
20· · · · A.· ·Correct.
21· · · · Q.· ·Did they concern boundaries specifically with
22· ·Gracie or with students in general?
23· · · · A.· ·I think it was students in general.· But she
24· ·used the word "boundaries."· I -- that's not something
25· ·that -- that's not a term I use in my line of business.


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·1· ·It's kind of -- I feel like that's more their language.
·2· · · · Q.· ·During the encounter at Cahill Park, do you
·3· ·recall your daughter Becky, asking, Tina for her phone
·4· ·number so Becky could provide it to the police?
·5· · · · · · ·MS. MCCORKLE:· Object to form and foundation.
·6· · · · Q.· ·(By Mr. Smith)· You may answer.
·7· · · · A.· ·I don't know.· I don't remember exactly, but
·8· ·I also have Tina's telephone number.· It's very
·9· ·possible that Becky had -- I believe that's how I got
10· ·it, was from Becky.
11· · · · · · ·Again, I know this because I contacted Tina
12· ·two additional times to see if she could work with us
13· ·to try to improve the school district, since we were
14· ·trying to -- we didn't want to file a lawsuit, but we
15· ·wanted to improve it and work in some way to do that.
16· · · · Q.· ·Well, so in some fashion, Becky got Tina's
17· ·phone number, presumably, that same day?
18· · · · A.· ·That seems legitimate to me.
19· · · · Q.· ·Do you recall any conversation about Becky
20· ·saying she wanted to give that number to the police so
21· ·that they could talk to Tina?
22· · · · A.· ·That does -- I do remember that she wanted --
23· ·I don't know about the telephone number.· But I do
24· ·remember she wanted to put them in touch with her.· The
25· ·telephone number is a bit of a blur, but it is -- I had


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·1· ·it too.· I believe I still have it.· I might have
·2· ·deleted it when she said she didn't want to assist.
·3· · · · Q.· ·Becky gave Tina's number to the Cheyenne
·4· ·Police Department.· At least, that's our understanding.
·5· ·Do you know about that?
·6· · · · A.· ·I don't.
·7· · · · · · ·MS. MCCORKLE:· Object to form and foundation.
·8· · · · Q.· ·(By Mr. Smith)· Now, you mentioned you had
·9· ·some subsequent contact with Tina Hunter.· Well, let me
10· ·back up.
11· · · · · · ·First of all, you said that you thought she
12· ·was impressive.· Did I get that right?
13· · · · A.· ·Yes, that's true.
14· · · · Q.· ·What about her did you find to be impressive?
15· · · · A.· ·I thought that she had seen bad activity with
16· ·Joe and that she had approached him about it and that
17· ·she had documented it and that she had done the right
18· ·things, based on our conversation.
19· · · · Q.· ·And the activities she had seen was his
20· ·failure to observe boundaries with his students?
21· · · · · · ·MS. MCCORKLE:· Object to form.
22· · · · A.· ·That's fair.
23· · · · Q.· ·(By Mr. Smith)· And it wasn't specific to
24· ·Gracie?
25· · · · · · ·MS. MCCORKLE:· Object to form.· Is there a


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·1· ·to school district employees?· Yes, I did talk to other
·2· ·school district employees.· I think of it more as a
·3· ·trivia mate than a school district employee, but he's a
·4· ·teacher that taught alongside Joe.
·5· · · · · · ·And I visited with him a number of times
·6· ·about -- about situations, and I was a little perturbed
·7· ·because he told me that everyone knew, and I didn't
·8· ·understand how if, everyone knew, why someone didn't
·9· ·make this stop.
10· · · · Q.· ·Who was this teacher?
11· · · · A.· ·His name is Phil Vigil.
12· · · · Q.· ·And when he told you that everyone knew, what
13· ·did they know, based on what he told you?
14· · · · A.· ·So I had numerous conversations with Phil.                  I
15· ·would typically play trivia -- until COVID, a group of
16· ·four friends and I would play trivia virtually every
17· ·Tuesday or Wednesday.· It changed over the course of
18· ·time since 2003.
19· · · · · · ·We would go to a local pub, and Phil was part
20· ·of a trivia team too.· And there were numerous
21· ·conversations, but he told me, Yeah, it was a joke.· We
22· ·all knew.· And he also told me that it was a joke.
23· ·They all knew that if Joe was going to be out sick,
24· ·that Gracie was going to be out sick.· I said -- he
25· ·said, Yeah, we all knew.· I'm like, How, if everybody


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·1· ·knew, didn't someone do something?
·2· · · · · · ·So those were the type of things I wanted to
·3· ·see if we could correct in the school district, and I
·4· ·don't know how they -- I get that Joe was a math award
·5· ·teacher and they'd probably raise their head if you
·6· ·went and said something against somebody who had
·7· ·stature, but it has to be done.· I don't understand to
·8· ·this day how people didn't -- if they knew, why they
·9· ·didn't say something.
10· · · · Q.· ·So this was a group of people who played
11· ·trivia.· It was you and Phil Vigil and who else?
12· · · · A.· ·So I didn't play on the same as Phil.· He
13· ·played on an opposing team.· But he would come.· We
14· ·became friendly.· We became friendly with a number of
15· ·teams because we would all play almost every week.
16· · · · · · ·The guys on my team that were regulars were
17· ·Ben Saunders, Kurt Helzer, Jim Nelson, and Dan Rusk,
18· ·and, oftentimes, his wife Sarah.
19· · · · Q.· ·Okay.· You're going faster than I can write.
20· ·So Ben Saunders.· Kurt. . .
21· · · · A.· ·Helzer.
22· · · · Q.· ·Helzer, H-e-l-z-e-r?
23· · · · A.· ·Yes, sir.
24· · · · Q.· ·Jim Nelson.· And then who else?
25· · · · A.· ·Dan Rusk.


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·1· · · · Q.· ·How do you spell that last name?
·2· · · · A.· ·R-u-s-k.
·3· · · · Q.· ·And his wife?
·4· · · · A.· ·Sarah.· She would come many times, but not
·5· ·every time.· There was a number of other people who
·6· ·would come once in a while, but that was kind of the
·7· ·core group.
·8· · · · Q.· ·What --
·9· · · · A.· ·And Dan did not start back in 2003.· He's a
10· ·younger guy that we met probably in 2015 or something
11· ·like that.
12· · · · Q.· ·Who was on Phil's team?
13· · · · A.· ·Phil's wife would come every week, and then
14· ·there was a number of other people that would come and
15· ·go.
16· · · · Q.· ·And when you had this conversation, or maybe
17· ·it was numerous conversations with Phil, were the other
18· ·members of your team present?
19· · · · A.· ·Yes, I believe so.· They were times I would
20· ·just -- he would -- like, he and I would meet in the
21· ·middle of the room and kind of chat.· But there were a
22· ·number of times that this was at our table, so other
23· ·members of my team would have been nearby.
24· · · · · · ·I can't say that they necessarily paid great
25· ·attention.· This was kind of my issue, me and Phil's,


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·1· ·and so -- but, yeah, they were there.
·2· · · · Q.· ·Was Phil's team there?
·3· · · · A.· ·No.· Generally, no.· I don't really know --
·4· ·other than Phil's wife, I really don't know the rest of
·5· ·his team.· And, like I said, I don't think they were
·6· ·very consistent from week to week.
·7· · · · Q.· ·Where was the -- you say this was at a local
·8· ·pub.· Where would you do this?
·9· · · · A.· ·So we started -- this is -- I can't remember
10· ·when Phil's team started coming to trivia.· We started
11· ·back at C.B. and Potts in 2013.· It was 2013.· I want
12· ·to say it was, like, March.
13· · · · · · ·And then when they closed, we moved to, I
14· ·think, Jackson's, and then found a really good trivia
15· ·master, and he left to go work at a post, and we
16· ·followed him there, and then he went to Mingles, so we
17· ·followed him to Mingles.· That's what I remember,
18· ·anyway.· That's -- it could have been at another place
19· ·once in a while.
20· · · · Q.· ·When Phil Vigil said to you that everybody
21· ·knew, did he give you any further information about
22· ·what was meant by "everybody"?
23· · · · A.· ·He said one time, he was -- they were in the
24· ·locker room.· I kind of felt like this was, like,
25· ·coaches or something, but I don't remember the details


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·1· ·of it.· And he said they were all sitting around there
·2· ·going, like, Yeah, we all knew.· We all knew.· It was a
·3· ·number of them that had said they knew as well.
·4· · · · Q.· ·Was it your impression that that locker room
·5· ·conversation occurred after Joe Meza's arrest?
·6· · · · A.· ·Yes.· All of our conversations happened after
·7· ·his arrest.· I take that back because there was a time
·8· ·period between the time he could no longer teach and
·9· ·the time he was arrested.· And so it would have been in
10· ·the time, like, maybe a week or two.· I don't remember
11· ·the details.· But it was after he had -- he could no
12· ·longer teach.
13· · · · Q.· ·After Gracie had gone to the police?
14· · · · A.· ·Correct.· I don't think Joe ever went back to
15· ·the school.· I don't think he could go back.
16· · · · Q.· ·I think that's right.· Did Phil Vigil ever
17· ·tell you that anybody in the administration knew?
18· · · · A.· ·Phil and I didn't talk about that.· I assumed
19· ·when he was saying that everybody knew, he was talking
20· ·about teachers that worked alongside him and Joe.
21· · · · Q.· ·So -- and I just want to be precise here.· In
22· ·answer to my question, Phil never told you that anyone
23· ·in the administration knew about the problem?
24· · · · A.· ·No, I don't believe so.· I think, like I
25· ·said, I think he was referring to other teachers.                 I


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·1· ·don't know that for sure.
·2· · · · Q.· ·You testified that in October 2018, Gracie
·3· ·met with a teacher who you think is either a geography
·4· ·or history teacher, who told her she needed to sue.· Do
·5· ·you know who that teacher was?
·6· · · · A.· ·Huh-uh.· And I don't know that it was
·7· ·October.· It would have been more -- yeah, it would
·8· ·have been October.· But I don't know the name of who
·9· ·the teacher is.
10· · · · Q.· ·And this was at Johnson -- I'm sorry -- at
11· ·South High School?
12· · · · A.· ·Yes, that's my belief.
13· · · · Q.· ·I take it you never spoke to that teacher?
14· · · · A.· ·No, I did not.· And I don't think she ever
15· ·said the teacher's name.· At least, it certainly didn't
16· ·register with me.· I just know it was geography or
17· ·history or both.
18· · · · Q.· ·Did you attend Joe Meza's trial?
19· · · · A.· ·Yes.· I was in -- I wasn't in the courtroom.
20· ·I was in the witness room, I guess, in case they needed
21· ·me, so they kept me away from the actual trial.
22· · · · Q.· ·So, obviously, you were on the witness list
23· ·for --
24· · · · A.· ·Correct.
25· · · · Q.· ·-- the district attorney's office?


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·1· · · · Q.· ·After Joe Meza was arrested -- and, again, I
·2· ·don't remember the exact date -- around Memorial Day
·3· ·weekend of 2017, did you have any meetings with anybody
·4· ·at the school district other than the encounter with
·5· ·Tina Hunter at Cahill Park?
·6· · · · A.· ·Well, like I said, if you were thinking about
·7· ·Phil Vigil as a school district employee, he would
·8· ·count.· I can't -- I went to a school district meeting
·9· ·when he was the -- when his privilege of being a
10· ·teacher was being revoked.· I did --
11· · · · · · ·I take that back.· There was another
12· ·encounter, and that's when the -- Gracie had been
13· ·alerted by -- and I don't remember all the people
14· ·there.· There were probably six or -- probably six
15· ·people.· The school district wanted to visit with
16· ·Gracie.
17· · · · · · ·I got a call from Becky, who was in -- I got
18· ·a call from Becky, who said, Can you get down there?
19· ·So I raced down there.· This was after the court case
20· ·was finalized.
21· · · · Q.· ·And the school district wanted to have a
22· ·meeting with Gracie?
23· · · · A.· ·They wanted -- they actually invited Gracie,
24· ·and they also contacted the victim's advocate, and I
25· ·can't remember her name right now.· If I looked it up,


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·1· ·I could probably find it.· But a really nice lady.
·2· · · · · · ·And they met at the -- what used to be -- oh,
·3· ·Central High School, I guess.· The administrative
·4· ·building.· And I went down there to just listen in to
·5· ·make sure that they were treating Gracie correctly.
·6· · · · Q.· ·And what was the subject matter of this
·7· ·meeting?
·8· · · · A.· ·So they told her they would get some
·9· ·resources, that they would make sure that she -- they
10· ·were going to get her to pass.· If I'm being candid
11· ·about it, I would say they were just trying to get her
12· ·through school.
13· · · · · · ·They were going to get her some softball
14· ·classes.· They were going to make sure that she was
15· ·safe.· This was after the court case and because there
16· ·was -- Joe had done a very good job of getting school
17· ·district employees as well as students on his side.
18· · · · · · ·It was pretty brutal for Gracie, and so they
19· ·recognized that, I believe, and they were offering to
20· ·make sure from class to class, they had people watching
21· ·to make sure she was safe.
22· · · · · · ·They did -- one person also offered that --
23· ·she was looking for a career that they would get her to
24· ·-- get her some help getting employment.· I took
25· ·detailed notes at the time, but I did not keep them.


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·1· ·And I was really taking the notes to be able to let my
·2· ·daughter and my wife know what was discussed.
·3· · · · Q.· ·It's my understanding that the district
·4· ·helped or made a referral for her through, I think,
·5· ·vocational rehab for some career planning; is that --
·6· · · · A.· ·That sounds right.· That was part of that.
·7· · · · Q.· ·You said you sat in to make sure that the
·8· ·district was treating her properly.· Did you determine
·9· ·if they were treating her property?
10· · · · A.· ·I think -- are you asking for my opinion?
11· · · · Q.· ·Yes.
12· · · · A.· ·I think this should have happened when she
13· ·first went to the police because she was treated really
14· ·badly by other school district employees and by
15· ·students.
16· · · · · · ·And I was mad that they didn't do this
17· ·earlier, but they waited until after the court case was
18· ·wrapped up before they offered any assistance at all,
19· ·and it felt to me like they just wanted to push her out
20· ·of the system, that they would lighten her load, make
21· ·sure got out, and passed.
22· · · · · · ·That's another thing, I guess, that I wanted
23· ·to admit that I am bitter about to this day, and I
24· ·wanted to do as part of the work in making the school
25· ·district better at recognizing, that they should get


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·1· ·teachers to recognize that they should not be involved
·2· ·in taking sides on a situation like this.· That was
·3· ·extraordinarily painful for my entire family, including
·4· ·Gracie.
·5· · · · Q.· ·Are you aware that the school district
·6· ·arranged for Gracie to attain counseling?
·7· · · · A.· ·I didn't know that.
·8· · · · · · ·MS. MCCORKLE:· Object to form and foundation.
·9· · · · Q.· ·(By Mr. Smith)· My question was, are you
10· ·aware of that?
11· · · · A.· ·I was not aware.· I thought my daughter had
12· ·arranged for counseling for Gracie, and that was when
13· ·they first brought her into their home and continuing
14· ·through.
15· · · · Q.· ·I want to ask you now about Gracie's current
16· ·situation.· How often do you see her?
17· · · · A.· ·With COVID, it's less.· We're trying to -- I
18· ·haven't seen my daughter either.· We would get
19· ·together, certainly, for things like holidays, and she
20· ·and her boyfriend would come over with -- we had a lot
21· ·of fun at, like, Halloween, and they would always come
22· ·over for that.
23· · · · · · ·So we have had them over for dinner a few
24· ·times.· A couple of times, I would say, then COVID hit,
25· ·and it's been -- we dropped off a Christmas tree to


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·1· ·opportunity with Melinda.· So I -- I -- you know, I
·2· ·kind of feel a little bit like I was not in favor of
·3· ·it, but once the decision was made, I was on board.
·4· · · · · · ·So when Gracie decided that she wanted to
·5· ·pursue this I said, I'll help you.
·6· · · · Q.· ·Have you been asked by Gracie's attorneys to
·7· ·be a witness at the trial of this case?
·8· · · · A.· ·No.· I don't know that there is going to be.
·9· ·Do you mean anything that might come up?
10· · · · Q.· ·Right.· This lawsuit is set for a trial, so I
11· ·was wondering if you had been asked to testify at
12· ·trial.
13· · · · A.· ·No.
14· · · · Q.· ·Do you have an opinion as to what you think
15· ·the district did wrong?
16· · · · · · ·MS. MCCORKLE:· Object to form, relevance.
17· · · · Q.· ·(By Mr. Smith)· You may answer.
18· · · · A.· ·I believe there's a number of things.· And,
19· ·again, these are things that I wanted to address by not
20· ·filing a lawsuit, but by addressing them all through
21· ·the school district, and that was that people needed to
22· ·have the courage to stand up.· They should --
23· · · · · · ·There's absolutely no way Joe should have 20-
24· ·or 50,000 text messages with an individual student.                  I
25· ·really think that -- I understand there's a need to get


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·1· ·ahold of kids and say, The track meet is going to be
·2· ·changed, or whatever, but that should be through a
·3· ·system.
·4· · · · · · ·I think the school district let Gracie down
·5· ·considerably by not helping her, not protecting her
·6· ·when she first made the claim.· That was a brutal time.
·7· ·It could have at least come out and said, Stay
·8· ·impartial to school district employees.· Those are
·9· ·some.
10· · · · · · ·I think I think the school district, if they
11· ·recognized this in Joe, if they had any inkling, they
12· ·should have shut it down as soon as possible.· I don't
13· ·know if I believe now that he did go to the school
14· ·district and get permission, but if they did, with all
15· ·the things that were in the file by Tina, it's
16· ·unconscionable that they let this go.
17· · · · Q.· ·You don't know if Joe went to get permission
18· ·from the school district for what?
19· · · · A.· ·He told me he went to the school district.                 I
20· ·asked the question, Did you get permission from the
21· ·school district to adopt Gracie?· And he said yes.
22· · · · Q.· ·You mentioned that the numerous text messages
23· ·between Joe Meza and his student, Gracie, were
24· ·inappropriate.· Do you have any information that the
25· ·district was aware that he was text messaging with


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·1· ·Gracie?
·2· · · · A.· ·I can't say.· I don't know.· I think -- I
·3· ·guess I should have said, there should be a strict
·4· ·policy that that is not permitted.· The school district
·5· ·should have a very strict policy that teachers
·6· ·shouldn't be following students' Facebook accounts or
·7· ·whatever.· Instagram accounts.· They shouldn't be
·8· ·texting them individually.
·9· · · · · · ·If they need to get ahold of them, there
10· ·should be some sort of centralized system that is
11· ·monitored by others.
12· · · · Q.· ·Do you know what the district policy is
13· ·regarding teacher conduct with students?
14· · · · A.· ·I do not.· I guess there is one more thing I
15· ·would like to say that I think the school district --
16· ·another thing that they let Gracie down on.
17· · · · · · ·And that is Gracie explained to us that Joe
18· ·gave her access to the standardized tests that the
19· ·school district had.· And he knew about those in
20· ·advance of them being conducted and helped her cheat.
21· ·That's -- that's an obvious -- that should never
22· ·happen.· I feel like she was cheated out of her
23· ·education because of that.
24· · · · Q.· ·All right.· You don't believe that the
25· ·district knew about that, do you?


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·1· ·seen by anybody else in the district?
·2· · · · A.· ·I have no idea.
·3· · · · Q.· ·Thank you.
·4· · · · · · ·MR. SMITH:· Now I'm done, Melinda.
·5· · · · · · ·MS. MCCORKLE:· Okay.
·6· · · · · · · · · · · · · EXAMINATION
·7· ·BY MS. MCCORKLE:
·8· · · · Q.· ·Mr. Garcia, do you recall approximately how
·9· ·long the conversation that you had with Tina Hunter in
10· ·Cahill Park lasted?
11· · · · A.· ·I thought it was the better part of an hour.
12· · · · Q.· ·And you testified that you had two
13· ·conversations with Tina Hunter after this conversation
14· ·in Cahill Park; isn't that correct?
15· · · · A.· ·Two after the Cahill Park meeting.· There
16· ·were two phone calls.
17· · · · Q.· ·Did you speak with her on both occasions?
18· · · · A.· ·Yes.
19· · · · Q.· ·And you testified that in the second
20· ·conversation, Ms. Hunter indicated that she didn't want
21· ·to jeopardize anything with the school district.· Did
22· ·you understand that to mean that she didn't want to
23· ·jeopardize her career?
24· · · · A.· ·Yes.
25· · · · Q.· ·Or her job with the school district?


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·1· · · · A.· ·That's correct.
·2· · · · Q.· ·You stated that Gracie's treatment at the
·3· ·district in between the time that she reported Mr. Meza
·4· ·and the time of trial was brutal, I think is the word
·5· ·that you used.· Why do you believe that?
·6· · · · A.· ·Because there were social media posts.               I
·7· ·tried to stay away from them, but I still found out
·8· ·about some of them.· And another school district
·9· ·employee was a part of it, and I couldn't believe that
10· ·that could be possible.
11· · · · Q.· ·Do you know the name of the employee?
12· · · · A.· ·I can't remember at this moment.· But I want
13· ·to say it's -- I believe the first name is Ella.
14· · · · Q.· ·Does Ella Parish sound correct?
15· · · · A.· ·That -- that's correct.· That's the name.
16· · · · Q.· ·Is there anything else that you made you say
17· ·that the treatment of Gracie was brutal during that
18· ·time period?
19· · · · A.· ·Joe was able to manipulate other kids and the
20· ·amount of kids who were rough on her, and by that, I
21· ·mean through social media as well as her treatment in
22· ·school was unbelievable.
23· · · · Q.· ·Mr. Garcia, you mentioned conversations that
24· ·you had with Phil Vigil about the relationship between
25· ·Gracie and Mr. Meza.· Can you tell us a little bit more


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   VINCE GARCIA                                               January 25, 2021
   FORTH vs LARAMIE COUNTY                                                  92

·1· ·but I will make sure that the message about that
·2· ·complaint or that suggestion gets to the right person.
·3· ·And then I also, generally through e-mail, insist that
·4· ·they follow up.· I'll say, Would you take this and make
·5· ·sure they get a follow-up?· And if it's related to the
·6· ·activities that I'm responsible for, I would absolutely
·7· ·take that point.· It's happened numerous times.
·8· · · · Q.· ·(By Mr. Smith)· You testified to having
·9· ·numerous conversations with Phil Vigil, including one
10· ·after he pleaded guilty, and I believe your words were
11· ·to the effect that Phil said, Well, that ends it; that
12· ·proves it.· Is that --
13· · · · A.· ·Something to that effect, yes.· He was like,
14· ·Yeah, no one's going to be saying he didn't do it now,
15· ·will they?
16· · · · Q.· ·When he said, Well, that proves it, does that
17· ·reflect that he had had some doubt about Mr. Meza's
18· ·guilt?
19· · · · A.· ·No.· I think the context of the conversation
20· ·was other people that he knew that kids were picking on
21· ·Gracie, that they were doing the social media thing and
22· ·that another teacher was involved, and I think it was
23· ·more towards those types of people, the naysayers.
24· ·They are not going to be able to hang their hat on
25· ·anything at this point because he has said the words.


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·1· · · · Q.· ·You mentioned that other students at the
·2· ·school were being rough on Gracie through social media.
·3· ·Do you have any information that the school district
·4· ·was aware of that?
·5· · · · A.· ·When you say "the school district," who do
·6· ·you mean in the school district?
·7· · · · Q.· ·I mean anybody.
·8· · · · A.· ·In general, I'd have to admit is this a flaw
·9· ·in -- and the reason I misunderstood some of your
10· ·questions earlier when you were talking about the
11· ·school district, I'm thinking about the upper echelon.
12· ·When you say that, "school district" to me generally
13· ·means, like administrators.
14· · · · · · ·And that's why I didn't think to --
15· ·obviously, I -- I assumed we would talk about
16· ·Phil Vigil today.· I didn't think about him as a school
17· ·district -- obviously, he's a school district employee
18· ·as a teacher.· I was thinking about administrators,
19· ·which I did not have contact with or conversations
20· ·with.
21· · · · · · ·I lost my train of thought.· Can you ask your
22· ·question again?· I'm sorry.
23· · · · Q.· ·Right.· And that's a fair point, and you are
24· ·correct.· Generally, when I was speaking when using the
25· ·phrase "school district," I meant, you know, somebody


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   VINCE GARCIA                                                January 25, 2021
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·1· ·at the administrative level.
·2· · · · · · ·So the question was, you testified that there
·3· ·were other students who were rough on Gracie via social
·4· ·media.· Now my question is, do you know if anybody at
·5· ·the school district was aware of that?· That would
·6· ·include teachers.
·7· · · · A.· ·I think Phil certainly knew about it.                I
·8· ·don't -- I didn't have contact with other people,
·9· ·though, so I can't speak to whether they knew or not.
10· ·In my opinion -- and this is back to some of the things
11· ·that the school district should do when something like
12· ·this happens -- there should be an announcement, and it
13· ·should be, Do not take a side on this.· Hold your
14· ·tongues.
15· · · · · · ·Because, especially as teachers, that was --
16· ·that led credibility to Joe when another teacher was
17· ·involved, and that really chaps me.
18· · · · Q.· ·Do you have any belief that anybody at the
19· ·school district was monitoring Gracie's social media?
20· · · · · · ·MS. MCCORKLE:· Object to form.
21· · · · Q.· ·(By Mr. Smith)· You may answer.
22· · · · A.· ·I don't want you to think it was Gracie's
23· ·social media.· This was KGAB and those types of social
24· ·media, the public forums, where she was being attacked.
25· ·This was not her social media.· These were public


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   VINCE GARCIA                                               January 25, 2021
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·1· ·forums.
·2· · · · · · ·And I do believe that, certainly, Joe's
·3· ·family, students that he had talked to, and at least
·4· ·one teacher were involved in that as well.
·5· · · · Q.· ·The teacher being Ella Parish?
·6· · · · A.· ·That's my belief.
·7· · · · · · ·MR. SMITH:· All right.· Mr. Garcia, now I
·8· ·think I'm done.· Thank you.
·9· · · · · · ·MS. MCCORKLE:· I have nothing further as
10· ·well.
11· · · · · · ·MR. SMITH:· Mr. Garcia, you have the right to
12· ·review the transcript created by the court reporter in
13· ·this matter.· If you want to do that, she will provide
14· ·it to you with a signature page on which you can note
15· ·any corrections if there are errors in the transcript
16· ·or errors in your testimony.· If you indicate a change
17· ·in your testimony, of course, the attorneys can address
18· ·that if you testify at trial.
19· · · · · · ·Anyway, you have that right if you want to
20· ·discuss that with the court reporter or you can waive
21· ·it.· You're certainly not obligated to do it, but
22· ·please let Lisa know today if you want to do that.
23· · · · · · ·THE DEPONENT:· Okay.· Should I do that now?
24· · · · · · ·MR. SMITH:· Yes.
25· · · · · · ·THE DEPONENT:· Yeah.· I would like to see the


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                                     EXHIBIT 23
      GRACIE A. FORTH                                            January 21, 2021
      FORTH vs LARAMIE                                                          1

·1· · · · · · ·DISTRICT COURT FOR THE UNITED STATES

·2· · · · · · · · · FOR THE DISTRICT OF WYOMING

·3

·4· ·GRACIE ANN FORTH,

·5
· ·   · · · · · Plaintiff,
·6
· ·   · · · vs.· · · · · · · · · · CIVIL NO. 20-CV-00053-ABJ
·7
· ·   ·LARAMIE COUNTY SCHOOL DISTRICT No. 1 and John/Jane Does
·8·   ·in his/her official capacity,

·9
· · · · · · · Defendants.
10
· · ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
11

12· · · · · · · · ·VIDEOCONFERENCE DEPOSITION OF

13· · · · · · · · · · · · GRACIE ANN FORTH

14
· · · · · · · · · · · · · January 21, 2021
15
· · · · · · · · · · · · · · · 9:42 a.m.
16
· · · · · · · · · · ·Proceedings taken remotely
17

18

19

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24

25· · · · · · · · ·Lisa Erickson, Court Reporter


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                         EXHIBIT 24
                     HUNTER DEPOSITION


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                                                  EXHIBIT 25
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                          Sentencing Tr

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                         EXHIBIT 15


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                                                                   1
                                                               EXHIBIT 29
 1                IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE DISTRICT OF WYOMING

 3    ------------------------------------------------------
      GRACIE ANN FORTH,
 4
                             Plaintiff,
 5
                  vs.            Civil No. 1:20-cv-00053-ABJ
 6
      LARAMIE COUNTY SCHOOL DISTRICT
 7    No. 1 and John/Jane Does 1-10
      in his/her official capacity,
 8
                          Defendants.
 9    ------------------------------------------------------

10

11           VIDEOCONFERENCE DEPOSITION OF BOYD BROWN, PhD
                         Taken by the Plaintiff
12
                             9:06 a.m., Monday
13                            December 7, 2020

14

15                PURSUANT TO NOTICE, the videoconference

16    deposition of BOYD BROWN, PhD was taken in accordance with

17    the applicable Federal Rules of Civil Procedure before

18    Kathy J. Kendrick, a Registered Professional Reporter and

19    a Notary Public in and for the State of Wyoming.

20

21

22

23

24

25




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 1    River, Wyoming.    I received the assistant principal job in

 2    Green River, Wyoming.      I was there for one year.

 3               Campbell County had an assistant principal at

 4    Campbell County High School that was open.      I applied for

 5    that and went back and was the assistant principal at

 6    Campbell County.     I moved to an assistant principal,

 7    athletic director at Sage Valley.      Then became the

 8    principal at Campbell County High School.

 9               I was then transferred into the role as

10    associate superintendent for instructional support.        I was

11    then transferred into the associate superintendent for

12    instruction.   And then I was transferred into the

13    superintendent's role in Campbell County.      I was the

14    superintendent in Campbell County for four years.

15         Q.    And when did you come to Laramie County School

16    District Number 1?

17         A.    July 1, 2018, and I've been the superintendent

18    since then.

19         Q.    And you said July 1st?

20         A.    July 1, 2018.

21         Q.    Is July usually when there is a transition from

22    one person to another in a position?

23         A.    In school districts, that's usually what happens

24    with administrative positions, teaching positions, which

25    start probably in August and end in June.




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 1    specialist.

 2         Q.     Have you ever served in a human resources

 3    capacity?

 4         A.     Not as the human resources person in a district,

 5    but I wind up dealing with it as a superintendent.

 6         Q.     And how about Title IX coordinator?     Had you

 7    ever been in a capacity of Title IX coordinator?

 8         A.     I have not.

 9         Q.     Who is the current Title IX coordinator?

10         A.     Our current Title IX coordinator is Michelle

11    Proctor.

12         Q.     Did you place her in that position?

13         A.     Our district did.     So working with my human

14    resources person, that was a decision we made.

15         Q.     Okay.     And so would that have been Dr. LaHiff?

16         A.     No.     That would have been John Weigel.

17         Q.     Why did you decide to put Ms. Proctor in that

18    position?

19         A.     Because our past Title IX coordinator moved to a

20    different position, and we needed a new Title IX person.

21         Q.     Who was the past Title IX coordinator?

22         A.     John Balow.

23         Q.     Was he the Title IX coordinator when you became

24    superintendent?

25         A.     Yes.




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 1         Q.      Does the superintendent designate the Title IX

 2    coordinator?

 3         A.      Not specifically.   I work with my human

 4    resources and other cabinet members to make those

 5    decisions.

 6         Q.      What are your decisions based on?

 7         A.      It would be based on who had time to do that

 8    position and who had the skills to do that position.

 9         Q.      What is your understanding of that position?

10         A.      Well, currently they are required to bring in

11    the new Title IX directives that we're required to follow

12    and do all the training we need to do there, and will be

13    one of the people that would be a decision maker.

14         Q.      A decision maker for what?

15         A.      For Title IX.   I can't remember the specific

16    terms that they use for that.

17         Q.      Well, what do you mean -- regardless of specific

18    terms, what do you mean by a decision maker for Title IX?

19         A.      So there are different levels.   There are

20    investigators and then decision makers.

21         Q.      And is the Title IX coordinator a investigator

22    or a decision maker?

23         A.      They are a decision maker.

24         Q.      Who is the investigator?

25         A.      Currently we're using principals in different




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 1    triads to investigate other triads.

 2         Q.      What do you mean by triad?

 3         A.      I couldn't understand you.

 4         Q.      What do you mean by triad?

 5         A.      Oh, triad.     We're split into three different

 6    areas.     So we have students that would go to Central High

 7    School, go to McCormick Junior High, and then they have a

 8    bunch of elements that would feed into McCormick.        So that

 9    would be one triad, would be our Central triad.        And then

10    the students that feed into the East High School would be

11    in our East triad.        The students that wind up feeding into

12    our South High School would be considered in our South

13    triad.

14         Q.      Okay.   How long has that system been in place?

15         A.      It's required -- it's been a new requirement

16    this year with Title IX.

17         Q.      And so has -- has that system been in place only

18    in 2020?

19         A.      August of 2020, yes.

20         Q.      What system was in place prior to that?

21         A.      We had a Title IX coordinator that would do the

22    investigations and then make decisions.

23         Q.      So that person performed a dual role?

24         A.      Yes.

25         Q.      Is -- under the prior system, was there anyone




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 1    else who assisted the Title IX coordinator in either

 2    investigation or decision making?

 3         A.      Yes.     At times they did.

 4         Q.      Do you know what circumstances and who that

 5    would have been?

 6         A.      Yeah, we had a situation at McCormick where we

 7    had some racist and homophobic information put up on the

 8    wall.     And we asked Marc LaHiff and Brett Young to assist

 9    with investigation and help with decision making.

10         Q.      And I remember that, but I don't remember what

11    year was that.        Was it 2018?

12         A.      It would have been the spring of 2019.

13         Q.      Okay.     Well, that seems like a lifetime ago.

14         A.      Yeah.     Anything past this year does.

15         Q.      Yeah.

16                 Okay.     How is the decision made -- or I guess I

17    should ask who decides whether to investigate a claim that

18    is potentially a Title IX violation?

19         A.      I would say that there would be numerous ways

20    that we would decide who would investigate it, depending

21    on the severity of what the incident that came in and --

22    and preliminary investigation of it.

23         Q.      But who would decide whether to initiate an

24    investigation?

25         A.      Oh.     I mean, we would have -- anybody could do




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 1    that by filling out the forms to initiate an

 2    investigation.       They just have to go through the -- that

 3    process of filling out the forms and we would go into an

 4    investigation.

 5         Q.      So does someone have to fill out a form in order

 6    to initiate an investigation?

 7         A.      Not necessarily.    If they filled them out,

 8    though, we would definitely investigate.

 9         Q.      Okay.    If you -- if the School District learned

10    about sexual abuse or sexual assault on a student, would

11    that generally prompt an investigation?

12         A.      Yes.

13         Q.      And are there circumstances where that may not

14    occur?

15         A.      No, we would investigate that.

16         Q.      Okay.

17         A.      Unless it was outside the School District, then

18    we would turn it over to law enforcement and DFS.

19         Q.      How is staff made aware of who the Title IX

20    coordinator is?

21         A.      It's on our website.    It's also in all the

22    documents.

23         Q.      What documents?

24         A.      Our Title IX documents, sexual harassment -- or

25    just our Title IX documents that are on the website.




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 1         A.      Correct.

 2         Q.      But prior to 2020, sexual abuse of a student by

 3    a teacher would have been brought to the Title IX

 4    coordinator and prompted an investigation; is that right?

 5         A.      Yeah.     And our human resources associate

 6    superintendent too.

 7         Q.      You'd also be notified about that?

 8         A.      Absolutely.

 9         Q.      Okay.     So let's talk about the current issue and

10    this lawsuit.        You're aware that you're here to discuss

11    the lawsuit by Gracie Forth against the School District

12    that stems from the sexual abuse of Joe Meza.        Are you

13    familiar with the details about this case?

14         A.      No.

15         Q.      What do you know about -- what do you know about

16    the case?

17         A.      Very little.

18         Q.      Okay.     Were you ever informed about any concerns

19    about the relationship between Gracie Forth and Joe Meza

20    before you became superintendent?

21         A.      No.

22         Q.      And what about after?

23         A.      The only thing after was that he had not gone to

24    trial yet.

25         Q.      And did you have any discussions with any




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 1    individual about Joe Meza before you became

 2    superintendent?

 3         A.     No.

 4         Q.     And what about after?

 5         A.     Very little.    I -- he was going to trial, and

 6    then I don't -- I don't even know what happened at his

 7    trial.    I just know that we weren't able to go to a

 8    termination hearing prior to this trial.

 9         Q.     Okay.    And you froze for a second there.

10                        MS. McCORKLE:     Did you catch all that,

11    Kathy?

12                        THE REPORTER:     I did.   I believe so.

13                        MS. McCORKLE:     Okay.

14         Q.     (BY MS. McCORKLE)       So you became superintendent

15    on July 1, 2018, correct?

16         A.     Correct.

17         Q.     Did you have any conversations with John Lyttle,

18    when he passed the baton to you, about Joe Meza.

19         A.     No.

20         Q.     How did you become aware of the sexual abuse by

21    Joe Meza against Gracie Forth?

22         A.     I became aware that he was in jail, and that we

23    were working on -- through -- termination through our

24    legal counsel.

25         Q.     And did you learn that shortly after becoming




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 1    superintendent?

 2         A.    I would say at least probably a month or a month

 3    and a half after I became superintendent.

 4         Q.    Who told you that?

 5         A.    Can you -- who told me what?

 6         Q.    Who told you that -- well, you said you became

 7    aware of -- that -- of the situation with Joe Meza, and it

 8    sounds like specific to his termination, within about --

 9    after about a month or month and a half of becoming

10    superintendent; is that right?

11         A.    Yeah.   Our legal counsel.

12         Q.    Okay.   So your legal counsel informed you that

13    there was a termination hearing pending?

14         A.    And a lot of other things.     Not specifically

15    about Joe Meza.    Just about legal issues in the district.

16         Q.    Okay.   Did you ever speak with Marc LaHiff about

17    the allegations regarding Joe Meza?

18         A.    No.

19         Q.    Did you ever speak with John Balow about those

20    allegations?

21         A.    No.

22         Q.    Have you spoken with any other administrators

23    about the allegations against Joe Meza?

24         A.    No.

25         Q.    And what about -- what about Joe Meza when he




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 1    pled guilty, did you have any discussions with

 2    administrators after that?

 3        A.     No.

 4        Q.     Did you have any discussions with school staff?

 5        A.     No.

 6        Q.     And after Joe Meza was sentenced in January 2019

 7    for 20 to 40 years, did you have any discussions with

 8    administrators about that case or Joe Meza at that point?

 9        A.     No.

10        Q.     And none with staff either?

11        A.     No.

12        Q.     Were you told not to discuss it?

13        A.     No.

14        Q.     And I -- I take it that -- well, scratch that.

15               Did you ever speak with law enforcement about

16    the allegations?

17        A.     No.

18        Q.     Did you ever speak with them about executing a

19    search warrant?

20        A.     No.     I don't believe so.

21        Q.     Okay.     I'm going to show you Exhibit 12.

22                        MS. McCORKLE:   And, Loyd, for the record,

23    we currently have 14 exhibits.       Exhibit Number 8 is a -- is

24    a big exhibit.      It's -- Mr. Meza's personnel file.   The

25    remaining exhibits are fairly small, if you want to make




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 1                         MS. McCORKLE:     And, Loyd, to minimize the

 2    amount of paper that you needed to print out, the documents

 3    that were contained within Mr. Meza's personnel file were

 4    not part of that group, although they are part of the

 5    exhibit.     I can pull it up on the screen if you don't have

 6    Exhibit 8 printed out.

 7                         MR. SMITH:   Yeah.

 8                         MS. McCORKLE:     Okay.     Let me just pull this

 9    up on the screen, then.

10        Q.       (BY MS. McCORKLE)       Okay.     Can you see that,

11    Dr. Brown?

12        A.       Yes.

13                         MS. McCORKLE:     And for the record, this is

14    Exhibit 17, page 214 -- Bates number 214.

15        Q.       (BY MS. McCORKLE)       And do you see that that

16    document says Mr. Meza's actual last working day was on

17    10/31/2018?

18        A.       Correct.

19        Q.       Okay.    And are you aware that the original

20    notice of dismissal by the School District was sent on

21    August 25, 2017?

22        A.       No.

23        Q.       And in case you want to check whether or not

24    that's accurate, that's at 7 -- 7781 through 7782.

25                 And if you take a look at Document 218.




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 1         A.      I haven't got to 771.

 2         Q.      Oh, okay.

 3         A.      What was the last part of that?       771?

 4         Q.      The notice of dismissal, the original notice of

 5    dismissal is at 7781 through 7782 -- or 7782 through 7783.

 6    Do you see that?

 7                         MR. SMITH:     Hold on a minute.

 8         A.      You just changed numbers on me again, it sounded

 9    like.     771?

10         Q.      (BY MS. McCORKLE)       It's 7782.

11         A.      7782.    Okay.

12         Q.      Okay.    So this is the original notice of

13    dismissal.       And you can see --

14         A.      Correct.

15         Q.      -- on 7783 that it's dated 8/25/17, correct?

16         A.      Correct.

17         Q.      And then the following page -- and the notice of

18    dismissal references an attached probable cause affidavit,

19    and that is located beginning at 7784.

20         A.      Okay.    I see that.

21         Q.      Would you agree that at a minimum, by August 25,

22    2017 the School District was aware of the allegations and

23    the arrest of Mr. Meza?

24         A.      Yes.

25         Q.      Okay.    And I'm -- I'm sharing the screen on 218




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 1    because this is also part of the termination -- I'm sorry,

 2    the personnel file.     And so that document is a pay stub,

 3    it looks like; is that right?

 4         A.    It would be an electronic copy of the pay stub,

 5    it looks like, yes.

 6                       MR. SMITH:   What's the Bates number,

 7    Melinda?

 8                       MS. McCORKLE:     218.

 9                       MR. SMITH:   Thank you.

10                       MS. McCORKLE:     Sure.

11         Q.    (BY MS. McCORKLE)       And that states that the

12    annual salary -- that Mr. Meza's annual salary is $57,941;

13    is that right?

14         A.    Correct.

15         Q.    And so between the 2017 and 2018 school year, he

16    received that annual salary; is that right?

17         A.    Yes.

18         Q.    Okay.    And then below that it states contract

19    days worked from 8/23 to -- 8/23/18 through 10/31/18, and

20    that that amount of payment was $15,346.54, correct?

21         A.    Correct.

22         Q.    Was he also receiving benefits during that time?

23         A.    Yes, I do believe so.

24         Q.    And would that be health insurance?

25         A.    I do not know if he was receiving health




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 1    insurance.

 2         Q.      Did he accrue vacation and sick leave during

 3    that time?

 4         A.      Yes, he would accrue sick leave, but not

 5    vacation as a teacher.

 6         Q.      Okay.     Are teachers paid out for their sick

 7    leave after they resign?

 8         A.      Normally that would happen, yes.

 9         Q.      And let me go back to 215.     Okay.   And so

10    document Bated 215 states that by -- John Weigel -- is it

11    Weigel or Weigel?

12         A.      Weigel.

13         Q.      Weigel.     That John Weigel is accepting

14    Mr. Meza's resignation pending approval by the board of

15    trustees.     And so does the board of trustees have to

16    approve a resignation as well?

17         A.      We take certified staff members' resignation to

18    the board of trustees if they are during the school year.

19         Q.      Okay.     And this indicates that all benefits will

20    be covered until October 31, 2018, correct?

21         A.      Yes.

22         Q.      And if we go back to 214, that document is with

23    the Wyoming Retirement System, and it indicates that

24    Mr. Meza's final contributions will be paid on 11/30/2018,

25    correct?




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 1         A.     Yes.

 2         Q.     And so Mr. Meza was accruing retirement benefits

 3    during this 14-month, 15-month time period between the

 4    time that he was arrested to the time that he was

 5    actually -- that he resigned, correct?

 6         A.     Yes.

 7         Q.     Okay.    And so excluding benefits, the School

 8    District paid over $70,000 in salary to Mr. Meza between

 9    the time that he was arrested and the time that he was

10    allowed to resign, correct?

11         A.     I would have to check those numbers.

12         Q.     Okay.    Well, his annual salary is 57,941, and

13    the contract days worked for the 2018 school year was

14    $15,346.54.

15                        MR. SMITH:   Is that a question?

16                        MS. McCORKLE:     No.   I'm just -- I'm just

17    letting you know what the math is.

18         Q.     (BY MS. McCORKLE)       Dr. Brown, were you aware of

19    any other instances of sexual misconduct between a student

20    employee -- and employee at Laramie County School District

21    Number 1?

22         A.     Yes.

23         Q.     What are those?

24         A.     We had a situation where we had a staff member

25    messaging a student inappropriately over social media.




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 1           Q.   Yeah.    That's fair.

 2                So I'm -- I'm trying to figure out where the

 3    discretion lies here, because we have documents that may

 4    be in a personnel file and may not be in a personnel file.

 5    So is that just completely human resources' call?

 6           A.   Human resources and the principal of the

 7    building.    It would depend on both of them working

 8    together.

 9           Q.   And the HR person might never know -- might

10    never have the ability to decide whether something should

11    be in the personnel file if he's not notified by the

12    principal of an occurrence; is that right?

13           A.   That would be correct.

14           Q.   Are you aware of any other instances of

15    misconduct or inappropriate boundaries between a teacher

16    and a student?

17           A.   We are in the process of investigating one right

18    now.

19           Q.   And let me back up to the other case that you

20    spoke about.     You said we did an investigation, and it was

21    substantiated.      Who is we?

22           A.   It would have been the principal and the human

23    resources person.      I'm trying to remember if Mr. Balow was

24    involved in that one or not, but I can't remember.

25           Q.   And so this may or may not have involved the




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 1         Q.     (BY MS. McCORKLE)    Let me ask it more directly.

 2    Is it concerning to you that within the last eight years

 3    there have been at least two sexual relationships of two

 4    to three years time spans between teachers and a 12- or

 5    13-year-old student?

 6         A.     It would be concerning to have sexual

 7    relationships between any adults and any of our students.

 8         Q.     But the School District isn't in charge of -- or

 9    in control of any -- of all the adults out there, right?

10    Only in charge of its employees?

11         A.     Correct.

12         Q.     So, yes, it would be concerning that teachers

13    are having sexual relationships with their students,

14    correct?

15         A.     Yes.

16         Q.     Okay.    If you will look at Exhibit 5, at

17    Interrogatory -- it's on page 5, and it's Interrogatory

18    Number 4.    This is asking to identify all individuals who

19    held the following positions between January 1, 2012 and

20    June 30, 2019.      And I want to specifically look at page 6

21    for the assistant superintendents of human resources.       And

22    that -- it looks like John Lyttle was superintendent

23    between 1999 and 2014; is that right?

24         A.     Yes.

25         Q.     And then he was succeeded by Matt Strannigan?




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 1        A.      Yes, for 2014 to 2015.

 2        Q.      And then by Dr. LaHiff?

 3        A.      Yes, from 2015 to 2018.

 4        Q.      And John Weigel?

 5        A.      Yes.

 6        Q.      Is page 1 that --

 7        A.      Yes.

 8        Q.      Okay.    Then under that is all Title IX

 9    coordinators, and it says John Lyttle was Title IX

10    coordinator between 2012 and 2017, correct?

11        A.      Correct.

12        Q.      And John Balow was Title IX from 2017 to 2020?

13        A.      Correct.

14        Q.      Correct?

15                And now it's Michelle Proctor, right?

16        A.      Correct.

17                        MS. McCORKLE:     Okay.     I'm going to send a

18    document that I am marking as Exhibit 18.            And I will share

19    this on the screen, because, Loyd, I don't think this is

20    one that I asked you to print.         I think it's a two-page

21    document.

22        Q.      (BY MS. McCORKLE)       Okay.     Dr. Brown, let me know

23    when you've had a chance to review this.            Tell me when to

24    move the screen.

25        A.      Okay.    Go ahead and move the screen.




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 1         A.    So our attorney would have worked with John

 2    Weigel and our human resources department on who was in

 3    each one of those positions during each one of those

 4    years.

 5         Q.    Okay.     And so the -- the information -- and

 6    you're looking at Interrogatory Number 4.          And so the

 7    information about --

 8         A.    I thought I was looking at interrogatory -- I

 9    thought I was looking at Number 5.

10         Q.    Yes.     I do want you to look at Number 5.         But

11    you mentioned that John Weigel would have looked -- or did

12    look at individuals' positions during that time.          So

13    that's why I thought you were going back to Number 4.                But

14    is that accurate?

15         A.    Oh.     Okay.     Excuse me.   I think I mixed up

16    exhibits with you saying interrogatory, and so I thought

17    you meant Exhibit 4.         That's my fault.

18         Q.    Okay.     So, yes, we're on Exhibit 5.      And I

19    believe you just said that John Weigel assisted in

20    providing -- providing responses regarding each

21    individual's employment and title during the relevant time

22    frame?

23         A.    John Weigel and the human resources department.

24    I don't know if he did that specifically.

25         Q.    Okay.     Okay.     And did you consult with anyone




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                         EXHIBIT 30
                           MEZA PAY


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